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              IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION

   In re:                                  §
                                           § Chapter 11
   KrisJenn Ranch, LLC,                    §
                                           §
   Debtor                                  § Case No. 20-50805
                                           §


   KrisJenn Ranch, LLC, KrisJenn Ranch,§
   LLC–Series Uvalde Ranch, and KrisJenn
                                       §
   Ranch, LLC–Series Pipeline ROW, as  §
   successors in interest to Black Duck§
   Properties, LLC,                    §
                                       § Adversary No. 20-05027
   Plaintiffs,                         §
                                       §
   v.                                  §
                                       §
   DMA Properties, Inc. and Longbranch §
   Energy, LP,                         §
                                       §
   Defendants.                         §


   DMA Properties, Inc. and Frank Daniel §
   Moore,                                   §
                                            §
   Cross-Plaintiffs/Third-Party Plaintiffs, §
                                            §
   v.                                       § Adversary No. 20-05027
                                            §
   KrisJenn Ranch, LLC, KrisJenn Ranch, §
   LLC–Series Uvalde Ranch, and KrisJenn §
   Ranch, LLC–Series Pipeline ROW, Black §
   Duck Properties, LLC, Larry Wright, and §
   John Terrill,                            §
                                            §
   Cross-Defendants/Third-Party Defendants. §




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                     RESPONSE IN OPPOSITION TO MOTION TO QUASH
         Moore and DMA Properties, Inc. (collectively, DMA) oppose KrisJenn’s motion to quash.

  KrisJenn seeks to quash an entire subpoena issued to a third-party attorney—David Strolle—who

  performed transactional work for Black Duck Properties, LLC while Daniel Moore was a 50%

  owner of that entity. Strolle has also apparently performed legal work for the KrisJenn entities.

  KrisJenn asserts some of the documents in Strolle’s possession may be privileged.

         In short, some of the documents sought by the subpoena might privileged; others are not.

  But KrisJenn’s obligation to conduct a privilege review and produce a privilege log is no reason to

  quash the entire subpoena. And besides, KrisJenn has not even objected to several of the subpoena

  requests. For others, KrisJenn has agreed that at least some relevant documents should be

  produced.

         In such circumstances, courts favor modification of subpoenas, not outright quashing. See

  Dynamic 3D Geosolutions, LLC, v. Schlumberger Ltd., 2014 WL 12489689, at *2 (W.D. Tex. 2014).

  But here, KrisJenn has not even shown that modification is appropriate, because KrisJenn has not

  carried its burden of demonstrating that privilege applies in the first place. Further, many of the

  supposedly “privileged” documents are not entitled to protection from disclosure because they

  concern legal advice solicited in service of commission of a fraud. United States v. Zolin, 491 U.S.

  554, 563 (1989).

         Because KrisJenn (1) has not established any basis for quashing the entire subpoena; and

  (2) has failed to carry its burden of establishing that any privilege applies, the Court should deny

  KrisJenn’s motion to quash.
                                             BACKGROUND

         On June 30, DMA served David Strolle with a subpoena requesting records related to the

  parties’ claims and defenses in their adversary proceeding. The subpoena is one page long and

  contains just 9 requests for production.




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          Of the 9 requests, KrisJenn has not objected to 3 of them. Those unobjected-to requests

  seek:

                 “All client files . . . for [Black Duck] and [SCMED] for the time in which
                  Mr. Moore was an owner or manager of those entities.” (RFP 1);

                 “All communications with Frank Daniel Moore or SCMED concerning
                  any alleged loans extended from KrisJenn to Black Duck.” (RFP 6); and

                 “All documents and communications related to Frank Daniel Moore
                  and/or DMA Properties’s resignation or withdrawal from Black Duck.”
                  (RFP 8).

  The other six requests seek:

                 documents and communications showing that KrisJenn foreclosed prior to
                  November 21, 2019 on any promissory note between Bigfoot Energy
                  Services and Black Duck (RFP 2);

                 documents and communications showing that KrisJenn complied with
                  Texas Property Code Chapter 51 when it foreclosed on any promissory
                  note between Bigfoot and Black Duck (RFP 3);

                 documents and communications showing that KrisJenn filed a UCC-1
                  financing statement to establish any valid liens (RFP 4);

                 documents and communications related to alleged loans extended from
                  KrisJenn to Black Duck (RFP 5);

                 documents and communications related to any deed of trust concerning the
                  right-of-way (RFP 7); and

                 documents and communications concerning a potential sale of the right of
                  way to TCRG, Bobby Patton, and/or John Terrill (RFP 9).

  For Requests 5 and 9, KrisJenn agrees that at least some documents should be produced. With

  respect to the other requests, KrisJenn argues they are “overbroad, unduly burdensome, and

  harassing” and seek documents protected by privilege.

          These objections do not justify quashing the entire subpoena. The Court should deny

  KrisJenn’s motion to quash.




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                                            ARGUMENT

  I.     The documents sought by the subpoena are relevant to the parties’ claims and
         defenses.

         To start, the requested documents are relevant to DMA’s claims. Requests 2, 3, 4, and 5,

  for example, relate to DMA’s claims that KrisJenn fraudulently stole DMA’s 50% interest in note

  payments owed by Bigfoot Energy to Black Duck. See Countercls. [#6] ¶¶20–21, 54–55. KrisJenn

  and Strolle sent a letter to Bigfoot claiming that KrisJenn had “foreclosed” on the Bigfoot

  promissory note in October 2018 because Black Duck supposedly owed $4.1 million to KrisJenn.

  Id. ¶¶78–80. But neither KrisJenn nor Strolle ever disclosed that “loan” to Moore or DMA, even

  though Moore was a 50% owner and manager of Black Duck when the loan was supposedly

  extended. Nor did Moore ever authorize the loan.

         To date, KrisJenn has not provided any evidence that a legitimate foreclosure occurred, or

  even that the Bigfoot promissory note was listed as collateral for the unauthorized $4.1 million

  loan. Id. DMA needs documents related to these transactions because existing evidence suggests

  the loan was either nonexistent or fraudulently concealed from Moore and DMA.

         In addition to the Bigfoot note payments, KrisJenn also claims that it foreclosed on the

  right-of-way that is at the center of this dispute. Id. ¶83. Requests 5, 7, and 9 seek documents

  related to that alleged foreclosure because DMA believes the foreclosure was illegitimate. Not only

  was the initial loan unauthorized by DMA or Moore, but KrisJenn claimed in July 2019—prior to

  the supposed foreclosure—that the loan had been paid off and that the lien had been released. Id.

  ¶83. DMA needs documents related to the deed-of-trust for the right-of-way, as well as documents

  related to its purported sale to TCRG, in order to understand the extent of KrisJenn’s fraudulent

  and unauthorized actions aimed at stealing DMA’s interest in the right-of-way.

  II.    KrisJenn has not shown that the entire subpoena should be quashed.

         KrisJenn has not put forward any basis for quashing the entire subpoena. To the contrary,

  KrisJenn has agreed to produce documents in response to 5 of the 9 requests for production. And

  for 3 of those requests, KrisJenn has not put forward any objections at all. In these circumstances,


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  it would be inappropriate to quash the entire subpoena. See Dynamic 3D Geosolutions, LLC, v.

  Schlumberger Ltd., 2014 WL 12489689, at *2 (W.D. Tex. 2014) (“Modification of a subpoena is

  preferable to quashing the subpoena.”).

         Notwithstanding the above, KrisJenn launches a global objection to the “date and time of

  compliance,” on the ground that 30 days is an insufficient amount of time to conduct a privilege

  review. DMA disagrees: Thirty days is the default time period for discovery requests in federal

  court, and parties are routinely required to conduct privilege reviews in that time span. See, e.g.,

  Cisneros v. Dollar Tree Stores, Inc., 2016 WL 11584849, at *3 (W.D. Tex. 2016) (denying motion to

  quash and requiring party to serve privilege log within 19 days). But even if the Court determines

  KrisJenn is entitled to more time to respond, that is a basis for modifying the subpoena, not

  quashing it.

  III.   KrisJenn has not carried its burden of establishing the documents are privileged.

         KrisJenn primarily argues the subpoena should be quashed because many of the documents

  sought by the subpoena are protected by privilege.1 As the party asserting the privilege, KrisJenn

  bears the burden of establishing that the privilege applies as to each document or communication

  withheld. See EEOC v. BDO USA, LLP, 876 F.3d 690, 695 (5th Cir. 2017); see also FED. R. CIV. P.

  26(b)(5)(A)(ii).2 Privilege objections “objections can only be sustained if they are both properly

  asserted and the facts supporting the privileges are established by the evidence, not merely


  1Although the subpoena was issued to Strolle, KrisJenn has standing to object to the extent that
  KrisJenn has “a personal right or privilege regarding the subject-matter of the subpoena.”
  McLaughlin v. American Fidelity Assurance Co., 2010 WL 4177233, at *2 (E.D. La. 2010).

  2 See also Crum & Forster Specialty Ins. Co. v. Great W. Casualty Co., 2016 WL 10459397, at *8
  (W.D. Tex. 2016) (“[T]he party asserting privilege must establish the following: (1) the materials
  must be documents or tangible things; (2) the party’s primary motivating purpose behind creating
  the document must have been anticipation of litigation and to aid in possible future litigation;
  (3) the materials must have been prepared by or for a party’s representative; and (4) if the party
  asserts that material is opinion work-product, that party must show that the material contains
  mental impressions, conclusions, opinions, or legal theories of an attorney or other representative
  of a party.”).


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  declared by lawyer argument. Estate of Manship v. United States, 232 F.R.D. 552, 561 (M.D. La.

  2005). Put a different way, “the mere assertion of a lawyer that responsive materials on

  information are attorney-client privileged or protected by the work product doctrine is not

  evidence establishing that the information is privileged.” Id.

          Here, KrisJenn has not come close to justifying its privilege objections. KrisJenn has not

  even produced a privilege log, which makes it impossible to assess whether the documents and

  communications withheld are actually privileged or not. See, e.g., Cisneros v. Dollar Tree Stores, Inc.,

  2016 WL 11584849, at *3 (“The failure to supply a privilege log is a significant omission[] . . .

  [because Rule 26 requires] that sufficient information must be disclosed to allow the other parties

  to evaluate the applicability of the privilege or protection.”). Further, KrisJenn’s bare assertion

  that the documents “would be potentially subject to the attorney-client and work product

  privilege” is insufficient to sustain KrisJenn’s privilege objections. Mot. Quash [#23] at 3

  (emphasis added). This is true even when a subpoena requests legal files from an attorney. See

  Manship, 232 F.R.D. at 561 (reiterating that there is “[n]o exception . . . for relevant and responsive

  documents contained in an attorney’s legal files”).

  IV.     The “privileged” documents are not actually privileged because they fall within the
          crime-fraud exception.

          Setting aside KrisJenn’s failure to carry its burden to establish privilege, KrisJenn’s

  privilege objections fail anyway because the crime-fraud exception applies. “The attorney-client

  privilege . . . ceas[es] to operate at a certain point, . . . where the desired advice refers not to prior

  wrongdoing, but to future wrongdoing.” United States v. Zolin, 491 U.S. 554, 563 (1989) (citation and

  quotation marks omitted) (emphasis in original); see also Archer v. Sterquell, 2006 WL 8436750, at

  *1 (N.D. Tex. 2006) (“The privilege can be overcome where communication or work product is

  intended to further continuing or future criminal or fraudulent activity.”). To invoke the fraud

  exception, DMA must:

          make a prima facie showing that the underlying transaction to which the
          communication relates is fraudulent. . . . The [Fifth] Circuit has stated that a party


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          must present evidence of an intent to deceive to establish a prima facie case of fraud
          or perjury. . . . This intention can be found by the existence of certain indicia or
          badges of fraud.
  Diamant v. Sheldon L. Pollack Corp., 216 B.R. 589, 591 (S.D. Tex. 1995).

          Here, DMA has put forward evidence of multiple prima facie badges of fraud. For starters,

  the loan supposedly extended by KrisJenn to Black Duck was not authorized by or disclosed to

  Black Duck’s 50% owner, Daniel Moore. Moore Decl. [#28-1] ¶¶37–38. What’s more, the alleged

  “foreclosure” on that unauthorized loan (1) occurred with litigation looming on the horizon, id. at

  ¶¶79–81; (2) had the effect of transferring assets between two closely related entities (Black Duck

  and KrisJenn were both controlled by Wright); and (3) is directly contradicted by other filings in

  which Wright claimed the loan had been paid off and the lien on the right-of-way released. See id.

  [#6-1] Ex. 13 (Release of Lien). These badges of fraud indicate that KrisJenn and Strolle sought to

  use the alleged foreclosure on the Bigfoot note payments and the right-of-way to defraud DMA

  and Moore. Such evidence establishes a prima facie case that Wright and KrisJenn acted “with

  intent to deceive.” Diamant, 216 B.R. at 591.3 As a result, KrisJenn cannot withhold any documents

  or communications related to that attempted fraud as privileged.

                                            CONCLUSION

          DMA respectfully requests that the Court deny the motion to quash because (1) KrisJenn

  has had plenty of time to conduct a privilege review; (2) KrisJenn has not established any privilege

  as to any of the requested documents; and (3) KrisJenn’s asserted privilege fails because the

  requested documents and communications are subject to the fraud exception. Alternatively, DMA

  asks that the Court modify the subpoena instead of quashing it, and require Strolle to promptly

  respond, especially to those requests that KrisJenn has not objected to.




  3 See also id. (setting forth nonexclusive list of badges of fraud, including “lack of consideration for
  the transfer; close family relationship between the transferor and the transferee; pending or
  threatened litigation against the transferor; and solvency or substantial indebtedness of the
  transferor”).


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                                      CERTIFICATE OF SERVICE

         I hereby certify that on July 28, 2020, a true and correct copy of the foregoing document
  was transmitted to each of the parties via the Court’s electronic transmission facilities and/or via
  electronic mail as noted below. For those parties not registered to receive electronic service, a true
  and correct copy of the foregoing document was served by United States Mail, first class, postage
  prepaid, at the address noted below.

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